         Case 2:18-cv-00981-WKW-WC Document 1 Filed 11/20/18 Page 1 of 2



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                             IN THE UNITED STATES DISTRICT COURT FOR. THE
                                  Zill 11411P213E Rts'ettiff OF ALABAMA
                                                                 DIVISION
                                       A       C T       K.
   OLLIE SCOTT of the United Spatea',9,f fsrlrf.     r;
                                                          )
                                                          )
             PIaintiff(s),                                )         CIVIL ACTION NO.a:121-CvS15 1- Ojlit.0-92-(A)
                                                          )
                                                          )          JURY DEMAND(MARK.ONE)
                                                          )
             v.                                           )         arts- DNO
   Wayne Garlock, individual and official capacity        )
   Alabama Attorney General                               )
   Alabama Secretary,of State ET _           L            )
            Defendant(s).

                                                       COMPLAINT
   I.        Plaintiff(s)' address and telephone number:OLLIE SCOTT
   300 Poole Road, Greenville, Alabama 36037 33 y. 46 :2_

                                                5-4eiAc,./ /4/1)/4/)74/d
  2.        Name and address of defendant(s):Butler County Judge of Probate, Butler County Circuit Clerk
   Butler County Sheriff - all address: 700 Court Square, P.O. Box 236, Greenville, Alabama 36037
   United States of America Attorney General, U.S. Department of Justice, 950 Pennsylvania Avenue, North West
   Washington, DC 20530; U.S. Attorney General's office 131 Clayton Street, P.O. Box 197, Montgomery, Al 36101
X- Alabama Attomey General Montgomery, Alabama 36104 and trbarna Secretary of State, Montgomery, Alabama


  3.        Place of alleged violation of civil rights:Within the U.S.A. Middle District of Alabama


  4.        Date of alleged violation of civil rights:Within two years of the filing ofthis Complaint

  5.        State the facts on which you base your allegation that your constitutional rights have been
            violated: I was elected the Coroner for Butler County, Alabama. I received 3,488 (t) votes and also,
   I received the Alabama Democratic Party Straight Party Voting 2,335 (t) votes and I desire to serve. I have not been
   given the necessary and proper credentials to so serve the people of Butler County, Alabama-as- coroner.
   The Federal Bureau of Investigation and the Alabama Bureau of Investigation knew or should have known that
   011ie Scott won the recent election for the position of Coroner of Butler County, Alabama. The Alabama
   Attorney General civil rights division and the Alabama Secretary of State's" realistic vote tally and integrity unit"
   knew and should have known that 011ie Scott won the recent election for the position of Coroner of Butler                  L.
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                                                                                             /Pt:.

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6.                           -:    That the federal district court judge seize the Butler Countfilgin5ma
Voting Machine, 24 of 24 Precincts original ballots and every document pertainin§4)4and relateatOthOotes
casted and the votes counted and the evidence of chain of movement and thelpreOlit)*tipplace of the:0
votes and supporting data. Authorize a full scale review and investigation of thi's-biOsp*,4!,..A7r     .j.,state arkl
                                                                                                    vtio
federal officials . Judicially install 011ie Scott and direct the proper authority to supply biifikpot"
necessary and proper office and office supplies to conduct Coroner work and see that 011ie 6..r(iif        Psid. '
Stop Wayne Garlock from further acting as Coroner of Butler County, Alabama. This lawsuit is against ihe USA
Attorney General, Alabama Attorney General, Wayne Garlock, individual and official capacity, Alabama Secretary
of State, Butler County :[Judge of Probate] ,[Circuit Court Clerk] and [Sheriff]. See also Document A attached



Date:jthildin _10 I

                                                                   .Pfaintiff(s) Sign' ture




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